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Fill in this information to identify the case:

Debtor Name Anson   Financial, Inc.
            __________________________________________________________________


United States Bankruptcy Court for the: Northern Districtofof________
                                        _______ District      Texas

                                                                                                                     q Check if this is an
Case number: 21-41517-11
              _________________________
                                                                                                                        amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                             12/17

Month:               Feb 2022
                     ___________                                                                Date report filed:    04/07/2022
                                                                                                                      ___________
                                                                                                                      MM / DD / YYYY

                  Management Real Estate
Line of business: ________________________                                                      NAISC code:           6531
                                                                                                                      ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                           J. Michael Ferguson
                                             ____________________________________________

Original signature of responsible party      /s/ J. Michael Ferguson
                                             ____________________________________________

Printed name of responsible party            J. Michael Ferguson
                                             ____________________________________________


              1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                           Yes     No        N/A
          If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                      q       q         q
    2.   Do you plan to continue to operate the business next month?                                                       q       q         q
    3.   Have you paid all of your bills on time?                                                                          q       q         q
    4.   Did you pay your employees on time?                                                                               q       q         q
    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                   q       q         q
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                q       q         q
    7.   Have you timely filed all other required government filings?                                                      q       q         q
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                   q       q         q
    9.   Have you timely paid all of your insurance premiums?                                                              q       q         q
          If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                    q       q         q
    11. Have you sold any assets other than inventory?                                                                     q       q         q
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?              q       q         q
    13. Did any insurance company cancel your policy?                                                                      q       q         q
    14. Did you have any unusual or significant unanticipated expenses?                                                    q       q         q
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                q       q         q
    16. Has anyone made an investment in your business?                                                                    q       q         q
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Debtor Name   Anson  Financial, Inc.
              _______________________________________________________                              21-41517-11
                                                                                       Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                        q       q      q
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                          q       q      q


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                                   61,628.83
                                                                                                                                $ __________
         This amount must equal what you reported as the cash on hand at the end of the month in the previous
         month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
         Attach a listing of all cash received for the month and label it Exhibit C. Include all
         cash received even if you have not deposited it at the bank, collections on
         receivables, credit card deposits, cash received from other parties, or loans, gifts, or
         payments made by other parties on your behalf. Do not attach bank statements in
         lieu of Exhibit C.
         Report the total from Exhibit C here.
                                                                                                           88,896.18
                                                                                                       $ __________

    21. Total cash disbursements
         Attach a listing of all payments you made in the month and label it Exhibit D. List the
         date paid, payee, purpose, and amount. Include all cash payments, debit card
         transactions, checks issued even if they have not cleared the bank, outstanding
         checks issued before the bankruptcy was filed that were allowed to clear this month,
         and payments made by other parties on your behalf. Do not attach bank statements
         in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                          (81,322.61)
         Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                            +        7,573.57
                                                                                                                                $ __________
         Subtract line 21 from line 20 and report the result here.
         This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
         Add line 22 + line 19. Report the result here.
                                                                                                                                   69,202.40
         Report this figure as the cash on hand at the beginning of the month on your next operating report.                =   $ __________

         This amount may not match your bank account balance because you may have outstanding checks that
         have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                             45,500.00
                                                                                                                                $ ____________

               (Exhibit E)




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Debtor Name   Anson  Financial, Inc.
              _______________________________________________________                               21-41517-11
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                        3,400,885.72
                                                                                                                               $ ____________

                (Exhibit F)



              5. Employees
                                                                                                                                            4
                                                                                                                                 ____________
    26. What was the number of employees when the case was filed?
    27. What is the number of employees as of the date of this monthly report?
                                                                                                                                            0
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?
                                                                                                                                         0.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?
                                                                                                                                   60,866.39
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                                    0.00
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                   0.00
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                           67,275.00
                                        $ ____________           –       88,896.18
                                                                     $ ____________
                                                                                               =      -21,621.18
                                                                                                   $ ____________
    32. Cash receipts
                                        $ (50,600.00)                  (81,322.61)             =       30,722.61
    33. Cash disbursements                ____________           –   $ ____________                $ ____________

                                           16,675.00             –        7,573.57             =       -3,425.04
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                           40,000.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                  (30,000.00)

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                    10,000.00




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Debtor Name   Anson  Financial, Inc.
              _______________________________________________________                             21-41517-11
                                                                                       Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    q    38. Bank statements for each open account (redact all but the last 4 digits of account numbers).


    q    39. Bank reconciliation reports for each account.


    q    40. Financial reports such as an income statement (profit & loss) and/or balance sheet.


    q    41. Budget, projection, or forecast reports.


    q    42. Project, job costing, or work-in-progress reports.




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                                      Exhibit C

     Type    Date        Num   Name      Memo       Account        Clr     Debit         Credit

 Deposit    02/14/2022                Deposit     Chase DIP 2251        $10,000.00
 Deposit    02/15/2022                Deposit     Chase DIP 2251        $50,000.00
 Deposit    02/16/2022                Deposit     Chase DIP 2251        $20,000.00
 Deposit    02/18/2022                Deposit     Chase DIP 2251         $8,986.18

 Total                                                                   $88,986.18         $0.00




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                                                 Exhibit D
     Type    Date         Num       Name           Memo        Account       Clr          Debit        Credit

 Check      02/02/2022 ACH      Anson Financial,
                                             Pmt#Inc.6      Chase DIP 2251                           $6,768.63
 Check      02/03/2022 ACH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                           $1,208.16
 Check      02/03/2022 aCH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                            $737.56
 Check      02/03/2022 ACH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                            $623.69
 Check      02/03/2022 aCH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                            $504.42
 Check      02/03/2022 ACH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                            $503.73
 Check      02/03/2022 aCH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                            $473.45
 Check      02/03/2022 aCH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                            $448.96
 Check      02/03/2022 ACH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                            $415.93
 Check      02/03/2022 ACH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                            $354.57
 Check      02/04/2022 ACH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                            $815.59
 Check      02/04/2022 aCH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                            $489.57
 Check      02/04/2022 ACH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                            $419.73
 Check      02/07/2022 ACH      Godbey, Arvella
                                             Pmt# 6         Chase DIP 2251                            $776.03
 Check      02/09/2022 ACH      Heritage Credit,
                                              Pmt#
                                                 LLC2       Chase DIP 2251                           $1,275.87
 Check      02/09/2022 ACH      Heritage Credit,
                                              Pmt#
                                                 LLC2       Chase DIP 2251                           $1,227.47
 Check      02/09/2022 ACH      Heritage Credit,
                                              Pmt#
                                                 LLC2       Chase DIP 2251                           $1,197.98
 Check      02/09/2022 ACH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                           $1,171.50
 Check      02/09/2022 ACH      Heritage Credit,
                                              Pmt#
                                                 LLC2       Chase DIP 2251                            $829.21
 Check      02/10/2022 ACH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                            $513.28
 Check      02/10/2022 ACH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                            $397.90
 Check      02/11/2022 ACH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                            $339.37
 Check      02/14/2022 ACH      Heritage Credit,
                                              Pmt#
                                                 LLC3       Chase DIP 2251                           $1,227.47
 Check      02/14/2022 ACH      Heritage Credit,
                                              Pmt#
                                                 LLC3       Chase DIP 2251                           $1,197.98
 Check      02/14/2022 ACH      Jentex Financial,
                                              Pmt#Inc.5     Chase DIP 2251                           $1,145.30
 Check      02/14/2022 ACH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                            $968.21
 Check      02/14/2022 aCH      Heritage Credit,
                                              Pmt#
                                                 LLC3       Chase DIP 2251                            $829.21
 Check      02/14/2022 aCH      Anson Financial,
                                             Pmt#Inc.6      Chase DIP 2251                            $250.00
 Check      02/14/2022 ACH      Heritage Credit,
                                              Pmt#
                                                 LLC3       Chase DIP 2251                           $1,275.87
 Check      02/15/2022 aCH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                           $1,156.82
 Check      02/17/2022 ACH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                            $478.19
 Check      02/17/2022 ACH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                            $582.90
 Check      02/18/2022 Wire     Heritage Credit,
                                              Pmt#
                                                 LLC3       Chase DIP 2251                          $10,859.86
 Check      02/18/2022 Wire     Heritage Credit,
                                              Pmt#
                                                 LLC3       Chase DIP 2251                          $11,550.46
 Check      02/18/2022 Wire     Heritage Credit,
                                              Pmt#
                                                 LLC3       Chase DIP 2251                          $17,772.46
 Check      02/18/2022 Wire     Heritage Credit,
                                              Pmt#
                                                 LLC3       Chase DIP 2251                           $2,844.72
 Check      02/22/2022 ACH      Intuit Payroll              Chase Payroll Account
                                                                                - 6035                  $65.03
 Check      02/24/2022 ACH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                            $643.37
 Check      02/25/2022 ACH      Jentex Financial,
                                              Pmt#Inc.6     Chase DIP 2251                            $559.45
 Check      02/28/2022 ACH      York Family Limited
                                              Pmt# 6Partnership
                                                            Chase DIP 2251                           $5,000.00
 Check      02/28/2022 ACH      Leroy York       Pmt# 6     Chase DIP 2251                           $1,000.00
 Check      02/28/2022 ACH      Carol Godbey Pmt# 7         Chase DIP 2251                            $150.00

 Total                                                                                      $0.00    $81,049.90



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                                                                                                                 Exhibit E
9:33 AM                                   Anson Financial, Inc. dba AFI Mortgage
04/07/22                                            Vendor Balance Detail
                                                                  All Transactions

                        Type                Date            Num             Account            Amount            Balance
             AFI Management Group
                 Bill             09/23/2021                          Accounts Payable              500.00             500.00

             Total AFI Management Group                                                             500.00             500.00

             Holder Law
                Bill                   10/22/2021                     Accounts Payable            20,000.00         20,000.00
                Bill                   11/30/2021                     Accounts Payable             9,966.39         29,966.39
                Bill Pmt -Check        11/30/2021          2500       Accounts Payable            -9,966.39         20,000.00

             Total Holder Law                                                                     20,000.00         20,000.00

             Weycer, Kaplan, Pulaski & Zuber, P.C.
               Bill                   09/23/2021                      Accounts Payable            25,000.00         25,000.00

             Total Weycer, Kaplan, Pulaski & Zuber, P.C.                                          25,000.00         25,000.00

           TOTAL                                                                                  45,500.00         45,500.00




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                                                                                    Exhibit F




 Receivables Report for period ending                      2/28/2022

 Mtg Receivables Balance                              $ 3,190,063.32
 Accrued Interest                                     $ 126,091.64
 AFI Management Receivable                            $    84,730.76

 Total Receivables                                    $ 3,400,885.72




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                                                                                              Payable to
  Payment     Beginning                                      Earned                                                                                              Unearned
                               Principal       Interest                     Service Fee     Anson Financial,   Loans Added      Ending Balance   Ending Basis
    Date       Balance                                       Discount                                                                                            Discount
                                                                                                 Inc.
12/31/2018   Ending Balance                                                                      $0.00                           $5,239,730.47   $5,053,673.36   $186,057.11
1/31/2019     $5,239,730.47       $28,115.47    $31,501.35        $886.47       $4,830.00         $55,673.29           $0.00     $5,210,728.53   $5,025,557.89   $185,170.64
2/28/2019     $5,210,728.53   $56,379.64      $39,409.01      $934.63           $4,760.00         $91,963.28      $0.00          $5,153,414.26   $4,965,221.10   $188,193.16
3/31/2019     $5,153,414.26       $21,378.47    $36,111.85        $761.37       $4,795.00         $53,456.69     $161,652.47     $5,292,926.89   $5,097,042.44   $195,884.45
4/30/2019     $5,292,926.89   $180,612.29     $49,784.30     $1,059.92          $4,830.00       $226,626.51    $30,000.00        $5,141,254.68   $4,924,047.83   $217,206.85
5/31/2019     $5,141,254.68       $51,992.05    $41,277.21      $3,882.02       $4,865.00         $92,286.28     $190,000.00     $5,275,380.61   $5,062,055.78   $213,324.83
6/30/2019     $5,275,380.61   $12,369.40      $33,706.61      $727.36           $4,900.00         $41,903.37   $258,329.68       $5,520,613.53   $5,308,016.06   $212,597.47
7/31/2019     $5,520,613.53      $209,634.05    $36,205.71        $982.03       $4,830.00       $241,991.79      $129,900.00     $5,439,897.45   $5,215,525.15   $224,372.30
8/31/2019     $5,439,897.45   $45,094.77      $48,520.38     $1,101.65          $4,795.00         $89,921.80   $116,000.00       $5,509,701.03   $5,281,525.18   $228,175.85
9/30/2019     $5,509,701.03     $118,896.02    $40,705.52        $794.45       $4,830.00        $155,565.99             $0.00    $5,390,010.56   $5,162,629.16   $227,381.40
10/31/2019    $5,390,010.56      $41,754.23    $35,564.43      $1,135.83       $4,795.00         $73,659.49      $136,870.67     $5,483,991.17   $5,257,745.60   $226,245.57
11/30/2019    $5,483,991.17      $33,260.44    $38,459.88      $4,492.90       $4,795.00         $71,418.22       $30,622.46     $5,476,860.29   $5,265,741.24   $211,119.05
12/31/2019    $5,476,860.29     $112,822.51    $47,356.25     $56,267.81       $4,690.00       $211,756.57       $111,133.06     $5,418,903.03   $5,245,670.01   $173,233.02
1/31/2020     $5,418,903.03     $602,802.12    $41,815.34      $1,006.66       $4,655.00       $640,969.12        $63,428.64     $4,878,522.89   $4,706,296.53   $172,226.36
2/29/2020     $4,878,522.89      $22,857.50    $32,283.77      $1,100.69       $4,655.00         $51,586.96       $40,000.00     $4,894,564.70   $4,723,439.03   $171,125.67
3/31/2020     $4,894,564.70     $129,228.69    $53,190.80      $3,521.84       $4,410.00       $181,531.33       $112,706.60     $4,874,520.77   $4,655,456.21   $219,064.56
4/30/2020     $4,874,520.77      $37,862.56    $39,301.56      $2,364.55       $4,375.00         $75,153.67      $145,000.00     $4,979,293.66   $4,758,636.50   $220,657.16
5/31/2020     $4,979,293.66      $84,427.31    $38,977.43      $1,068.76       $4,340.00       $120,133.50              $0.00    $4,893,797.59   $4,674,209.19   $219,588.40
6/30/2020     $4,893,797.59      $99,716.56    $36,634.14        $968.96       $4,270.00       $133,049.66              $0.00    $4,793,112.07   $4,574,492.63   $218,619.44
7/31/2020     $4,793,112.07      $34,787.39    $38,426.22      $1,037.89       $4,165.00         $70,086.50             $0.00    $4,757,286.79   $4,539,705.24   $217,581.55
8/31/2020     $4,757,286.79        $7,703.82   $40,241.63     $21,915.95       $4,060.00         $65,801.40             $0.00    $4,727,667.02   $4,532,001.42   $195,665.60
9/30/2020     $4,727,667.02      $65,523.22    $35,927.21        $909.62       $3,920.00         $98,440.05             $0.00    $4,661,234.18   $4,466,478.20   $194,755.98
10/31/2020    $4,661,234.18      $24,773.57    $30,058.02        $901.57       $4,025.00         $51,708.16         $5,000.00    $4,640,559.04   $4,450,661.78   $189,897.26
11/30/2020    $4,640,559.04      $55,191.37    $46,105.60        $860.17       $3,955.00         $98,202.14       $42,000.00     $4,626,507.50   $4,433,513.26   $192,994.24
12/31/2020    $4,626,507.50           $29.20   $34,029.13        $857.33       $3,885.00         $31,030.66             $0.00    $4,625,620.97   $4,433,484.06   $192,136.91
1/31/2021     $4,625,620.97     $454,697.25    $45,695.84     $18,139.04       $3,710.00       $514,822.13        $56,210.80     $4,208,995.48   $4,034,997.61   $173,997.87
2/28/2021     $4,208,995.48      $42,349.33    $26,146.73        $724.12       $3,675.00         $65,545.18      $221,737.40     $4,387,659.43   $4,214,385.68   $173,273.75
3/31/2021     $4,387,659.43     $121,947.69    $55,728.09      $2,973.63       $3,465.00       $177,184.41          $5,459.51    $4,268,197.62   $4,101,540.20   $166,657.42
4/30/2021     $4,268,197.62      $29,623.38    $38,621.42      $1,780.94       $3,465.00         $66,560.74         $5,072.21    $4,241,865.51   $4,073,031.88   $168,833.63
5/31/2021     $4,241,865.51       ($9,122.82)  $33,507.48        $626.34       $3,430.00         $21,581.00         $1,371.84    $4,251,733.83   $4,083,526.54   $168,207.29
6/30/2021     $4,251,733.83     $313,879.13    $39,420.02      $2,203.06       $3,395.00       $352,107.21        $17,116.29     $3,952,767.93   $3,785,587.02   $167,180.91
7/31/2021     $3,952,767.93     $107,866.10    $37,304.51        $781.01       $3,360.00       $142,591.62              $0.00    $3,844,120.82   $3,677,690.61   $166,430.21
8/31/2021     $3,844,120.82      $19,316.49    $34,300.57        $552.79       $3,255.00         $50,914.85        -$1,371.84    $3,822,879.70   $3,657,002.28   $165,877.42
9/30/2021     $3,822,879.70     $304,962.82    $45,241.16        $756.47       $3,115.00       $347,845.45              $0.00    $3,517,160.41   $3,352,039.46   $165,120.95
10/31/2021    $3,517,160.41      $25,971.57    $33,456.14        $695.99       $3,115.00         $57,008.70                      $3,490,492.85   $3,326,067.89   $164,424.96
11/30/2021    $3,490,492.85      $20,706.22    $33,331.89        $760.42       $3,115.00         $51,683.53             $0.00    $3,469,026.21   $3,305,361.67   $163,664.54
12/31/2021    $3,469,026.21      $85,650.76    $30,498.80        $806.62       $2,940.00       $114,016.18              $0.00    $3,382,568.83   $3,219,754.90   $162,813.93
1/31/2022     $3,382,568.83      $12,754.63    $22,084.95        $445.30       $3,010.00         $32,274.88             $0.00    $3,369,368.90   $3,210,913.43   $158,455.47
2/28/2022     $3,369,368.90      $24,182.27    $31,248.61        $801.85       $2,975.00         $52,455.88             $0.00    $3,345,186.63   $3,187,533.01   $157,653.62
Total                         $3,631,997.47 $1,452,179.56    $141,588.01     $154,455.00      $5,070,508.19     $1,878,239.79




                                                                                        Monthly
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                                                                                               February 01, 2022 through February 28, 2022
                                        JPMorgan Chase Bank, N.A.
                                        P O Box 182051                                         Account Number:
                                        Columbus, OH 43218 - 2051




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 * start*post summary message1




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                                                                                                                     February 01, 2022 through February 28, 2022
                                                                                                                      Account Number:


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                    IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
                    address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
                    incorrect or if you need more information about a transfer listed on the statement or receipt.
                    For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
                    appeared. Be prepared to give us the following information:
                                    Your name and account number
                                    The dollar amount of the suspected error
                                    A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
                    We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
                    accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
                    us to complete our investigation .
                    IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
                    incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
                    you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
                    Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
                    JPMorgan Chase Bank, N.A. Member FDIC

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10:39 AM                                       Anson Financial, Inc. dba AFI Mortgage
04/06/22                                               Reconciliation Detail
                                       Chase Payroll Account - 6035, Period Ending 02/28/2022

                     Type               Date          Num            Name             Clr      Amount            Balance
           Beginning Balance                                                                                               72.17
                Cleared Transactions
                   Checks and Payments - 1 item
           Check               02/22/2022      ACH          Intuit Payroll            X               -65.03            -65.03

                      Total Checks and Payments                                                       -65.03            -65.03

                Total Cleared Transactions                                                            -65.03            -65.03

           Cleared Balance                                                                            -65.03                7.14

           Register Balance as of 02/28/2022                                                          -65.03                7.14

                New Transactions
                  Checks and Payments - 1 item
           Check               03/21/2022     ACH           Intuit Payroll                            -65.03            -65.03

                      Total Checks and Payments                                                       -65.03            -65.03

                      Deposits and Credits - 1 item
           Deposit                03/21/2022                                                            57.89              57.89

                      Total Deposits and Credits                                                        57.89              57.89

                Total New Transactions                                                                  -7.14              -7.14

           Ending Balance                                                                             -72.17                0.00




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                                    JPMorgan Chase Bank, N.A.
                                    P O Box 182051                                         Account Number:
                                    Columbus, OH 43218 - 2051




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* start*post summary message1




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  *start*electronic w ithdrawa l




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                                                                                          February 01, 2022 through February 28, 2022
                                                                                          Account Number:


   *start*electron ic withdrawal




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* start*daily ending balance2




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                                                                                                                     February 01, 2022 through February 28, 2022
                                                                                                                      Account Number:


* start*daily ending balance2




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                    IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
                    address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
                    incorrect or if you need more information about a transfer listed on the statement or receipt.
                    For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
                    appeared. Be prepared to give us the following information:
                                    Your name and account number
                                    The dollar amount of the suspected error
                                    A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
                    We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
                    accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
                    us to complete our investigation .
                    IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
                    incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
                    you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
                    Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
                    JPMorgan Chase Bank, N.A. Member FDIC

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                                                       February 01, 2022 through February 28, 2022
                                                       Account Number:




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5:19 PM                                        Anson Financial, Inc. dba AFI Mortgage
03/04/22                                                 Reconciliation Detail
                                                   Chase DIP 2251, Period Ending 02/28/2022

                     Type               Date           Num            Name              Clr   Amount            Balance
           Beginning Balance                                                                                        28,084.24
                Cleared Transactions
                   Checks and Payments - 42 items
           Check               02/02/2022      ACH            Anson Financial, Inc.     X         -6,768.63         -6,768.63
           Check               02/03/2022      ACH            Jentex Financial, Inc.    X         -1,208.16         -7,976.79
           Check               02/03/2022      aCH            Jentex Financial, Inc.    X           -737.56         -8,714.35
           Check               02/03/2022      ACH            Jentex Financial, Inc.    X           -623.69         -9,338.04
           Check               02/03/2022      aCH            Jentex Financial, Inc.    X           -504.42         -9,842.46
           Check               02/03/2022      ACH            Jentex Financial, Inc.    X           -503.73        -10,346.19
           Check               02/03/2022      aCH            Jentex Financial, Inc.    X           -473.45        -10,819.64
           Check               02/03/2022      aCH            Jentex Financial, Inc.    X           -448.96        -11,268.60
           Check               02/03/2022      ACH            Jentex Financial, Inc.    X           -415.93        -11,684.53
           Check               02/03/2022      ACH            Jentex Financial, Inc.    X           -354.57        -12,039.10
           Check               02/04/2022      ACH            Jentex Financial, Inc.    X           -815.59        -12,854.69
           Check               02/04/2022      aCH            Jentex Financial, Inc.    X           -489.57        -13,344.26
           Check               02/04/2022      ACH            Jentex Financial, Inc.    X           -419.73        -13,763.99
           Check               02/07/2022      ACH            Godbey, Arvella           X           -776.03        -14,540.02
           Check               02/09/2022      ACH            Heritage Credit, LLC      X         -1,275.87        -15,815.89
           Check               02/09/2022      ACH            Heritage Credit, LLC      X         -1,227.47        -17,043.36
           Check               02/09/2022      ACH            Heritage Credit, LLC      X         -1,197.98        -18,241.34
           Check               02/09/2022      ACH            Jentex Financial, Inc.    X         -1,171.50        -19,412.84
           Check               02/09/2022      ACH            Heritage Credit, LLC      X           -829.21        -20,242.05
           Check               02/10/2022      ACH            Jentex Financial, Inc.    X           -513.28        -20,755.33
           Check               02/10/2022      ACH            Jentex Financial, Inc.    X           -397.90        -21,153.23
           Check               02/11/2022      ACH            Jentex Financial, Inc.    X           -339.37        -21,492.60
           Check               02/14/2022      ACH            Heritage Credit, LLC      X         -1,275.87        -22,768.47
           Check               02/14/2022      ACH            Heritage Credit, LLC      X         -1,227.47        -23,995.94
           Check               02/14/2022      ACH            Heritage Credit, LLC      X         -1,197.98        -25,193.92
           Check               02/14/2022      ACH            Jentex Financial, Inc.    X         -1,145.30        -26,339.22
           Check               02/14/2022      ACH            Jentex Financial, Inc.    X           -968.21        -27,307.43
           Check               02/14/2022      aCH            Heritage Credit, LLC      X           -829.21        -28,136.64
           Check               02/14/2022      aCH            Anson Financial, Inc.     X           -250.00        -28,386.64
           Check               02/15/2022      aCH            Jentex Financial, Inc.    X         -1,156.82        -29,543.46
           Check               02/17/2022      ACH            Jentex Financial, Inc.    X           -582.90        -30,126.36
           Check               02/17/2022      ACH            Jentex Financial, Inc.    X           -478.19        -30,604.55
           Check               02/18/2022      Wire           Heritage Credit, LLC      X        -17,772.46        -48,377.01
           Check               02/18/2022      Wire           Heritage Credit, LLC      X        -11,550.46        -59,927.47
           Check               02/18/2022      Wire           Heritage Credit, LLC      X        -10,859.86        -70,787.33
           Check               02/18/2022      Wire           Heritage Credit, LLC      X         -2,844.72        -73,632.05
           Check               02/24/2022      ACH            Jentex Financial, Inc.    X           -643.37        -74,275.42
           Check               02/25/2022      ACH            Jentex Financial, Inc.    X           -559.45        -74,834.87
           Check               02/28/2022      ACH            York Family Limited ...   X         -5,000.00        -79,834.87
           Check               02/28/2022      ACH            Leroy York                X         -1,000.00        -80,834.87
           Check               02/28/2022      ACH            Carol Godbey              X           -150.00        -80,984.87
           Check               03/23/2022      ACH            Jentex Financial, Inc.    X           -337.74        -81,322.61

                      Total Checks and Payments                                                  -81,322.61        -81,322.61

                      Deposits and Credits - 4 items
           Deposit                02/14/2022                                            X         10,000.00         10,000.00
           Deposit                02/15/2022                                            X         50,000.00         60,000.00
           Deposit                02/16/2022                                            X         20,000.00         80,000.00
           Deposit                02/18/2022                                            X          8,986.18         88,986.18

                      Total Deposits and Credits                                                  88,986.18         88,986.18

                Total Cleared Transactions                                                         7,663.57          7,663.57

           Cleared Balance                                                                         7,663.57         35,747.81

           Register Balance as of 02/28/2022                                                       7,663.57         35,747.81




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5:19 PM                                        Anson Financial, Inc. dba AFI Mortgage
03/04/22                                                 Reconciliation Detail
                                                   Chase DIP 2251, Period Ending 02/28/2022

                     Type               Date           Num            Name             Clr    Amount            Balance
                New Transactions
                  Checks and Payments - 14 items
           Check               03/02/2022     ACH             Anson Financial, Inc.               -6,768.63         -6,768.63
           Check               03/03/2022     ACH             Anson Financial, Inc.               -2,500.00         -9,268.63
           Check               03/03/2022     ACH             Anson Financial, Inc.               -2,500.00        -11,768.63
           Check               03/03/2022     aCH             Anson Financial, Inc.               -2,500.00        -14,268.63
           Check               03/03/2022     ACH             Anson Financial, Inc.               -2,500.00        -16,768.63
           Check               03/03/2022     ACH             Jentex Financial, Inc.              -1,208.16        -17,976.79
           Check               03/03/2022     ACH             Jentex Financial, Inc.                -737.56        -18,714.35
           Check               03/03/2022     ACH             Jentex Financial, Inc.                -623.69        -19,338.04
           Check               03/03/2022     ACH             Jentex Financial, Inc.                -504.42        -19,842.46
           Check               03/03/2022     ACH             Jentex Financial, Inc.                -503.73        -20,346.19
           Check               03/03/2022     aCH             Jentex Financial, Inc.                -473.45        -20,819.64
           Check               03/03/2022     ACH             Jentex Financial, Inc.                -448.96        -21,268.60
           Check               03/03/2022     ACH             Jentex Financial, Inc.                -415.93        -21,684.53
           Check               03/03/2022     ACH             Jentex Financial, Inc.                -354.57        -22,039.10

                      Total Checks and Payments                                                  -22,039.10        -22,039.10

                      Deposits and Credits - 1 item
           Deposit                03/03/2022                                                      32,274.88         32,274.88

                      Total Deposits and Credits                                                  32,274.88         32,274.88

                Total New Transactions                                                            10,235.78         10,235.78

           Ending Balance                                                                         17,899.35         45,983.59




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2:28 PM                           Anson Financial, Inc. dba AFI Mortgage
04/06/22                                 Statement of Cash Flows
                                                      February 2022

                                                                                               Feb 22
                     OPERATING ACTIVITIES
                       Net Income                                                             -34,786.92
                       Adjustments to reconcile Net Income
                       to net cash provided by operations:
                          AFI Management Receivable                                            36,530.30

                     Net cash provided by Operating Activities                                  1,743.38

                     INVESTING ACTIVITIES
                        Mortgages Receivables                                                  24,182.27
                        Mortgages Receivables:Unearned Discount                                  -801.85

                     Net cash provided by Investing Activities                                 23,380.42

                     FINANCING ACTIVITIES
                        Investors Payable:Secured:Arvella, Godbey                                -702.41
                        Investors Payable:Secured:Jentex - 1017 8th Ave                          -453.41
                        Investors Payable:Secured:Jentex - 124 CR 635                            -237.98
                        Investors Payable:Secured:Jentex - 1248 E Allen                          -190.40
                        Investors Payable:Secured:Jentex - 1411 Joplin                           -234.61
                        Investors Payable:Secured:Jentex - 1617 Clinton                          -470.28
                        Investors Payable:Secured:Jentex - 174 PR 4732                           -311.20
                        Investors Payable:Secured:Jentex - 2 Notes                               -671.83
                        Investors Payable:Secured:Jentex - 2008 Ridgeway                         -271.48
                        Investors Payable:Secured:Jentex - 211 Colonial                          -202.25
                        Investors Payable:Secured:Jentex - 2505 NE 31st                          -239.11
                        Investors Payable:Secured:Jentex - 2659 Quinn                            -288.61
                        Investors Payable:Secured:Jentex - 2720 Quinn                            -139.35
                        Investors Payable:Secured:Jentex - 2801 Burton                           -214.01
                        Investors Payable:Secured:Jentex - 4245 Lorin                            -222.03
                        Investors Payable:Secured:Jentex - 4416 Village                          -279.23
                        Investors Payable:Secured:Jentex - 4900 Hillside                         -202.27
                        Investors Payable:Secured:Jentex - 531 Partrid                           -189.37
                        Investors Payable:Secured:Jentex - 6712 Plantati                         -437.74
                        Investors Payable:Secured:Jentex - 700 Springe                           -426.82
                        Investors Payable:Secured:Jentex - 770 PR 4732                           -368.10
                        Investors Payable:Secured:Jentex - 817 E Devitt                          -175.77
                        Investors Payable:Secured:Jentex - 8501 Pembert                          -261.19
                        Investors Payable:Secured:Jentex - 9662 5425 Waltham                     -699.38
                        Investors Payable:Secured:S&F Funding - Deed of Trust                  -3,436.81
                        Investors Payable:Secured:York Family Partnership                      -5,000.00
                        Investors Payable:Unsecured:Carol Godbey                                  -38.34
                        Investors Payable:Unsecured:Eldridge G. Parker                           -104.73
                        Investors Payable:Unsecured:Leroy York                                   -718.81

                     Net cash provided by Financing Activities                                -17,187.52

                  Net cash increase for period                                                  7,936.28

                  Cash at beginning of period                                                  51,662.44

                Cash at end of period                                                          59,598.72




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5:16 PM                           Anson Financial, Inc. dba AFI Mortgage
04/06/22                                         Profit & Loss
Cash Basis                                         February 2022

                                                                                    Feb 22
                 Ordinary Income/Expense
                      Income
                         Earned Discount                                                        801.85
                         Interest Income                                                     31,248.61

                      Total Income                                                           32,050.46

                   Gross Profit                                                              32,050.46

                      Expense
                        Interest Expense
                           Arvella Godbey Interest Exp                                  73.62
                           Carol Godbey Interest Exp                                   111.66
                           G. Parker Eldridge Interest Exp                             145.27
                           Heritage Credit, LLC                                     52,088.56
                           Jentex Interest Exp                                       7,765.23
                           Leroy York Interest Exp                                     281.19
                           S & F Funding, LLC                                        3,331.82

                        Total Interest Expense                                               63,797.35

                        Management Fees                                                         2,975.00
                        Payroll Expenses                                                           65.03

                      Total Expense                                                          66,837.38

                 Net Ordinary Income                                                         -34,786.92

               Net Income                                                                    -34,786.92




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9:20 AM                          Anson Financial, Inc. dba AFI Mortgage
04/07/22                                            Balance Sheet
Cash Basis                                       As of February 28, 2022

                                                                              Feb 28, 22
               ASSETS
                 Current Assets
                   Checking/Savings
                      Bank Accounts
                         Chase DIP 2251                                             36,085.55
                         Chase Payroll Account - 6035                                    7.14
                         First Bank & Trust-5829                                    12,738.33
                         Wells Fargo - 5257                                         10,767.70

                       Total Bank Accounts                                                   59,598.72

                    Total Checking/Savings                                                   59,598.72

                    Other Current Assets
                      AFI Management Receivable                                              84,730.76
                      Other Current Assets
                         Cash Bond 67th Ct                                            4,104.10

                       Total Other Current Assets                                                4,104.10

                    Total Other Current Assets                                               88,834.86

                 Total Current Assets                                                       148,433.58

                 Other Assets
                   Mortgages Receivables
                      Accrued Interest                                              126,091.64
                      Notes Receivables                                           3,293,591.42
                      Unearned Discount                                            -103,528.10

                    Total Mortgages Receivables                                            3,316,154.96

                    Other Investments
                      62 Main Street, LLC                                          836,404.78
                      AFI Technology, Inc.                                          92,075.17
                      AFM Investments, LLC                                         137,506.58
                      AFM Techology, LLC                                            67,309.34
                      All American Royalties, Inc.                                 573,128.98
                      Alvord 287 JV                                                367,064.56
                      MBH Real Estate, LLC                                         100,972.00

                    Total Other Investments                                                2,174,461.41

                 Total Other Assets                                                        5,490,616.37

               TOTAL ASSETS                                                                5,639,049.95

               LIABILITIES & EQUITY
                  Liabilities
                     Current Liabilities
                        Other Current Liabilities
                            Other Current Liabilities
                              B Frazier Management, Inc.                            28,714.56
                              Ghrist 67th District Judgment                        167,920.77
                              Ghrist_67th Sanction Order                            11,675.00

                          Total Other Current Liabilities                                   208,310.33

                          Payroll Liabilities                                                -30,494.21

                       Total Other Current Liabilities                                      177,816.12

                    Total Current Liabilities                                               177,816.12




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9:20 AM                              Anson Financial, Inc. dba AFI Mortgage
04/07/22                                           Balance Sheet
Cash Basis                                        As of February 28, 2022

                                                                                 Feb 28, 22
                    Long Term Liabilities
                      Investors Payable
                         Secured
                           Arvella, Godbey                                     10,340.06
                           Heritage Credit-2202 Chapel                         64,668.90
                           Heritage Credit-225 W Lorino                        61,915.93
                           Heritage Credit-3308 Mansfield                      95,268.46
                           Heritage Credit-Barron Weaver                       30,721.55
                           Jentex - 1017 8th Ave                              105,058.61
                           Jentex - 124 CR 635                                 57,617.95
                           Jentex - 1248 E Allen                               34,208.66
                           Jentex - 1411 Joplin                                40,133.81
                           Jentex - 1617 Clinton                              110,211.40
                           Jentex - 174 PR 4732                                75,346.78
                           Jentex - 2 Notes                                    43,785.70
                           Jentex - 2008 Ridgeway                              46,441.37
                           Jentex - 211 Colonial                               40,477.77
                           Jentex - 2132 Christin                              27,988.37
                           Jentex - 2505 NE 31st                               40,886.03
                           Jentex - 2659 Quinn                                 18,809.63
                           Jentex - 2720 Quinn                                 29,863.90
                           Jentex - 2801 Burton                                39,413.08
                           Jentex - 4245 Lorin                                 39,908.80
                           Jentex - 4416 Village                               33,499.23
                           Jentex - 4900 Hillside                              36,801.34
                           Jentex - 531 Partrid                                81,747.49
                           Jentex - 6712 Plantati                              30,407.50
                           Jentex - 700 Springe                               111,275.80
                           Jentex - 770 PR 4732                                28,334.57
                           Jentex - 817 E Devitt                               33,144.19
                           Jentex - 8501 Pembert                               13,745.64
                           Jentex - 9662 5425 Waltham                           5,028.02
                           Lonesome Dove Holdings                             164,560.57
                           S&F Funding - Deed of Trust                        796,200.06
                           SBA-EIDL                                           154,202.54
                           York Family Partnership                          2,733,893.31

                          Total Secured                                              5,235,907.02

                          Unsecured
                            Carol Godbey                                      16,710.45
                            Eldridge G. Parker                                17,328.23
                            Leroy York                                        41,460.43

                          Total Unsecured                                                  75,499.11

                       Total Investors Payable                                                   5,311,406.13

                    Total Long Term Liabilities                                                  5,311,406.13

                 Total Liabilities                                                               5,489,222.25

                 Equity
                   Capital Stock                                                                   612,916.17
                   Opening Balance Equity                                                           35,773.38
                   Retained Earnings                                                              -199,657.31
                   Net Income                                                                     -299,204.54

                 Total Equity                                                                     149,827.70

               TOTAL LIABILITIES & EQUITY                                                        5,639,049.95




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9:46 AM                            Anson Financial, Inc. dba AFI Mortgage
04/07/22                                          Profit & Loss
Accrual Basis                             January through February 2022

                                                                                   Jan - Feb 22
                  Ordinary Income/Expense
                       Income
                          Earned Discount                                                      1,247.15
                          Interest Income                                                     53,333.56

                       Total Income                                                           54,580.71

                    Gross Profit                                                              54,580.71

                       Expense
                         Bad Debt Expense                                                   243,258.68
                         Interest Expense
                            Arvella Godbey Interest Exp                                 151.89
                            Carol Godbey Interest Exp                                   223.57
                            G. Parker Eldridge Interest Exp                             291.41
                            Heritage Credit, LLC                                     58,884.37
                            Jentex Interest Exp                                      15,766.58
                            Leroy York Interest Exp                                     567.15
                            S & F Funding, LLC                                        3,331.82

                         Total Interest Expense                                               79,216.79

                         Management Fees                                                       5,985.00
                         Payroll Expenses                                                        324.78
                         Professional Fees                                                    25,000.00

                       Total Expense                                                        353,785.25

                  Net Ordinary Income                                                       -299,204.54

                Net Income                                                                  -299,204.54




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9:45 AM                           Anson Financial, Inc. dba AFI Mortgage
04/07/22                                             Balance Sheet
Accrual Basis                                     As of February 28, 2022

                                                                              Feb 28, 22
                ASSETS
                  Current Assets
                    Checking/Savings
                       Bank Accounts
                          Chase DIP 2251                                            36,085.55
                          Chase Payroll Account - 6035                                   7.14
                          First Bank & Trust-5829                                   12,738.33
                          Wells Fargo - 5257                                        10,767.70

                        Total Bank Accounts                                                  59,598.72

                     Total Checking/Savings                                                  59,598.72

                     Other Current Assets
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                       Other Current Assets
                          Cash Bond 67th Ct                                           4,104.10

                        Total Other Current Assets                                               4,104.10

                     Total Other Current Assets                                              88,834.86

                  Total Current Assets                                                      148,433.58

                  Other Assets
                    Mortgages Receivables
                       Accrued Interest                                             126,091.64
                       Notes Receivables                                          3,293,591.42
                       Unearned Discount                                           -103,528.10

                     Total Mortgages Receivables                                           3,316,154.96

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                       AFI Technology, Inc.                                         92,075.17
                       AFM Investments, LLC                                        137,506.58
                       AFM Techology, LLC                                           67,309.34
                       All American Royalties, Inc.                                573,128.98
                       Alvord 287 JV                                               367,064.56
                       MBH Real Estate, LLC                                        100,972.00

                     Total Other Investments                                               2,174,461.41

                  Total Other Assets                                                       5,490,616.37

                TOTAL ASSETS                                                               5,639,049.95

                LIABILITIES & EQUITY
                   Liabilities
                      Current Liabilities
                         Accounts Payable
                             Accounts Payable                                                45,500.00

                        Total Accounts Payable                                               45,500.00

                        Other Current Liabilities
                          Other Current Liabilities
                             B Frazier Management, Inc.                             28,714.56
                             Ghrist 67th District Judgment                         167,920.77
                             Ghrist_67th Sanction Order                             11,675.00

                           Total Other Current Liabilities                                  208,310.33

                           Payroll Liabilities                                               -30,494.21

                        Total Other Current Liabilities                                     177,816.12

                     Total Current Liabilities                                              223,316.12




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9:45 AM                               Anson Financial, Inc. dba AFI Mortgage
04/07/22                                            Balance Sheet
Accrual Basis                                      As of February 28, 2022

                                                                                  Feb 28, 22
                     Long Term Liabilities
                       Investors Payable
                          Secured
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                            Heritage Credit-225 W Lorino                        61,915.93
                            Heritage Credit-3308 Mansfield                      95,268.46
                            Heritage Credit-Barron Weaver                       30,721.55
                            Jentex - 1017 8th Ave                              105,058.61
                            Jentex - 124 CR 635                                 57,617.95
                            Jentex - 1248 E Allen                               34,208.66
                            Jentex - 1411 Joplin                                40,133.81
                            Jentex - 1617 Clinton                              110,211.40
                            Jentex - 174 PR 4732                                75,346.78
                            Jentex - 2 Notes                                    43,785.70
                            Jentex - 2008 Ridgeway                              46,441.37
                            Jentex - 211 Colonial                               40,477.77
                            Jentex - 2132 Christin                              27,988.37
                            Jentex - 2505 NE 31st                               40,886.03
                            Jentex - 2659 Quinn                                 18,809.63
                            Jentex - 2720 Quinn                                 29,863.90
                            Jentex - 2801 Burton                                39,413.08
                            Jentex - 4245 Lorin                                 39,908.80
                            Jentex - 4416 Village                               33,499.23
                            Jentex - 4900 Hillside                              36,801.34
                            Jentex - 531 Partrid                                81,747.49
                            Jentex - 6712 Plantati                              30,407.50
                            Jentex - 700 Springe                               111,275.80
                            Jentex - 770 PR 4732                                28,334.57
                            Jentex - 817 E Devitt                               33,144.19
                            Jentex - 8501 Pembert                               13,745.64
                            Jentex - 9662 5425 Waltham                           5,028.02
                            Lonesome Dove Holdings                             164,560.57
                            S&F Funding - Deed of Trust                        796,200.06
                            SBA-EIDL                                           154,202.54
                            York Family Partnership                          2,733,893.31

                           Total Secured                                              5,235,907.02

                           Unsecured
                             Carol Godbey                                      16,710.45
                             Eldridge G. Parker                                17,328.23
                             Leroy York                                        41,460.43

                           Total Unsecured                                                  75,499.11

                        Total Investors Payable                                                   5,311,406.13

                     Total Long Term Liabilities                                                  5,311,406.13

                  Total Liabilities                                                               5,534,722.25

                  Equity
                    Capital Stock                                                                   612,916.17
                    Opening Balance Equity                                                           35,773.38
                    Retained Earnings                                                              -245,157.31
                    Net Income                                                                     -299,204.54

                  Total Equity                                                                     104,327.70

                TOTAL LIABILITIES & EQUITY                                                        5,639,049.95




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